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  ***NJ BAR                                                                                     CHARLES R. MATHIS, IV ++
  ++NJ & PA                                                                                    BETHANNA M. SCOTT***
                                                                                               JUAN C. CERVANTES++


                                             October 20, 2023

         Via CM/ECF
         Honorable Georgette Castner, U.S.D.J.
         Clarkson S. Fisher Building & U.S. Courthouse
         402 East State Street
         Courtroom 5E
         Trenton, NJ 08608

         Re:      Jersey Mike’s Franchise Sys., Inc. v. Am. Arbitration Ass’n,
                  No. 23-CV-03444-GC-TJB (D.N.J.)
                  Our File Number:     5244.0015

         Dear Judge Castner:

                This law firm, along with Zarco Einhorn Salkowski, P.A., represents Plaintiff Jersey
         Mike’s Franchise Systems, Inc. (“Plaintiff”) in the above-referenced action. Your Honor’s
         Text Order dated September 29, 2023 [Doc. 37] sets the following briefing schedule for the
         now-pending motion to dismiss filed by individual defendants Ophelia Augustine, Cecelia
         Lahr, and Alexander Luce (collectively, “Individual Defendants”):

                  October 13, 2023: Deadline for Individual Defendants’ motion to dismiss
                  October 23, 2023: Deadline for Plaintiff’s opposition
                  October 30, 2023: Deadline for Individual Defendants’ reply

                 Plaintiff’s lead counsel expects to be out on parental leave any day now and, therefore,
         requested a thirty-day extension from Individual Defendants, from October 23, 2023 to
         November 22, 2023. Individual Defendants’ deadline to reply one week later, per the current
         briefing schedule, would coincide with their counsel’s vacation. To accommodate, the parties
         also agreed to extend Individual Defendants’ deadline to reply by one week to December 6,
         2023. The requests for these extensions are made in good faith, not made for purposes of
         delay, and will not prejudice any party. Accordingly, there is good cause for these extensions.
         Therefore, the parties respectfully request that Your Honor enter an Order that:
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         On or before November 22, 2023, Plaintiff shall file its opposition; and
         On or before December 6, 2023, Defendants shall file their response.

        If you have any questions or concerns, please do not hesitate to contact my office.
  Thank you.

                                              Respectfully submitted,

                                              MAGGS McDERMOTT & DiCICCO, LLC
                                              Attorneys for Plaintiff

                                              s/ Michael M. DiCicco

                                              MICHAEL M. DiCICCO


  MMD:jc
  cc:  All Counsel of Record (via CM/ECF)


  So ORDERED:


  __________________________________________
  Honorable Georgette Castner, U.S.D.J
